Case 5:15-cr-00018-RWS-CMC            Document 776        Filed 10/31/16      Page 1 of 2 PageID #:
                                            2844


                           United States District Court
                                  EASTERN DISTRICT OF TEXAS
                                     TEXARKANA DIVISION




 UNITED STATES OF AMERICA                         §
                                                  §
 V.                                               §           CASE NO. 5:15CR18(12)
                                                  §
 LLOYD GUEDEL JONES, JR.                          §


                                 ORDER ADOPTING
                         THE REPORT AND RECOMMENDATION
                      OF THE UNITED STATES MAGISTRATE JUDGE



         The above-styled matter was referred to the Honorable Caroline M. Craven, United States

 Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

 Procedure. Judge Craven conducted a hearing on October 26, 2016 in the form and manner

 prescribed by Federal Rule of Criminal Procedure 11 and issued a Report and Recommendation

 (document # 765). Judge Craven recommended that the Court accept Defendant’s guilty plea and

 conditionally approve the plea agreement. She further recommended that the Court finally adjudge

 Defendant as guilty of Count 1 of the Indictment filed against Defendant in this cause.

         All parties have waived objections to the magistrate judge’s findings. The Court is of the

 opinion that the Report and Recommendation should be accepted. It is accordingly ORDERED

 that the Report and Recommendation of the United States Magistrate Judge (document # 765) is

 ADOPTED. It is further

         ORDERED that the Defendant’s guilty plea is accepted and approved by the Court. Further,

 the plea agreement is approved by the Court, conditioned upon a review of the presentence report.

 It is finally

         ORDERED that, pursuant to the Defendant’s plea agreement, the Court finds the Defendant
Case 5:15-cr-00018-RWS-CMC        Document 776       Filed 10/31/16   Page 2 of 2 PageID #:
                                        2845

 GUILTY of Count 1 of the Indictment in the above-numbered cause and enters a JUDGMENT

 OF GUILTY against the Defendant as to Count 1 of the Indictment.

      SIGNED this 31st day of October, 2016.



                                                     ____________________________________
                                                     ROBERT W. SCHROEDER III
                                                     UNITED STATES DISTRICT JUDGE




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